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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

UNITED STATES OF AMERICA,
                                        CASE NO.
                                        1:22-CR-426-SDG
vs.

ORLANDO CLARK,


       Defendant.


                 SENTENCING MEMORANDUM AND
                MOTION FOR DOWNWARD VARIANCE
   ORLANDO CLARK (“Defendant”), through undersigned counsel,

submits the following Sentencing Memorandum. Clark requests a

downward variance based upon the information provided in the Final

PSR and this Sentencing Memorandum.

                           INTRODUCTION
   On February 3, 2022, FBI agents visited Defendant at his home.

Without retaining counsel or requesting any concession, Defendant

invited the FBI agents to his dining room table, agreed for them to set

up video equipment and, on three separate days (2/3/2022, 2/4/2022,

and 3/31/2022) gave extensive statements on every aspect of his
conduct. During this video sessions at his home, Clark answered every

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question fully and completely, and gave a complete confession as to

every crime he committed. Clark did not ask for any favors or

consideration. He purposely did not seek assistance of counsel during

the video sessions. Clark withheld nothing and offered to give further

cooperation. Thereafter, the Government requested cooperation from

Defendant, which he readily provided even though his cooperation did
not qualify him for additional consideration under U.S.S.G. § 5K1.1.

    Clark grew up in Detroit, Michigan. Despite a difficult childhood

due to his parents’ alcoholism and mental illness, Clark joined the

military, lived a law abiding life, married, raised law abiding children,

and has had a long career as a very talented steel fabricator. Clark’s

participation in the scheme for which he was convicted was due to his

suggestibility and weakness. Clark had been law abiding throughout his

life. But while he was in Afghanistan, Clark didn’t think independently

and got caught up in a scheme of “baksheesh” that is all too common

in the Middle Ea st, but abhorrent to the laws and values of the United
States.1

    The “baksheesh” culture in Afghanistan to which Clark succumbed

was described in an article titled “Bombs and Baksheesh,” published

by The Economist in 2010:



    1
      Baksheesh, a Persian term, originally referred to tipping or charitable giving, but in its modern
culture means political corruption and bribery characteristic of some cultures in the Middle East and
South Asia.
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      The ubiquity of official corruption is laid bare in a rare UN
      report that seeks to quantify it. A survey conducted by the
      UN's Office on Drugs and Crime found that half of the
      7,600 Afghans interviewed had paid a bribe in the
      previous year (see chart), handing over on average $160
      each time, about a third of average annual GDP per head.
      This extrapolates to about $2.5 billion worth of baksheesh
      nationally every year: roughly as large as Afghanistan's
      opium economy, and a quarter of licit economic output.

https://www.economist.com/asia/2010/01/21/bombs-and-baksheesh

(last accessed April 7, 2023). The baksheesh culture is mentioned not

to lessen his culpability, but to provide context to the circumstances in

which Clark, a law abiding citizen throughout his life, committed these

crimes. From the moment the FBI knocked on his door, Clark has never

sought to excuse his crimes by asserting that “everyone did it.” On the

contrary, Clark’s cooperation with law enforcement from the very

beginning, his continued cooperation despite no possibility of a § 5K1.1

cooperation agreement, and his agreement not to interpose a statute of

limitations or any other defense demonstrates that Clark’s acceptance

of responsibility is genuine, not mere lip service. This is story of greed,
suggestibility, temptation, and weakness in a situation where there was

significant government spending in a place where bribery is the norm.

                              DISCUSSION
   Well-established Supreme Court precedent requires district courts

to perform four steps when sentencing a defendant: (1) calculate the
sentencing range recommended by the advisory Guidelines; (2)

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determine whether a sentence within that range, and within statutory

limits, serves the factors set forth in 18 U.S.C.§ 3553(a), and, if it does

not, select a sentence that does serve those factors; (3) implement any

applicable mandatory statutory limitations; and (4) articulate the

reasons for selecting the particular sentence and, if applicable, explain

why a sentence outside the advisory Guidelines range better serves the
relevant sentencing purposes set forth in 18 U.S.C. § 3553(a).

   A. The Final PSR Correctly Calculates the Sentencing
      Guidelines
   The total offense level of 25, though not binding on the Court, is

correctly stated in the Final PSR.

   The total offense level is the same offense level set out in the plea

agreement. The Government and Clark agree on all aspects of the

guideline calculation. Indeed, the Government joined and expanded

Clark’s objection to two enhancements contained in the Initial PSR.

The Initial PSR included two substantial enhancements, one for “high

level decision making” and the other for passport documents. The
Government joined Clark’s objection and provided additional

statements. For example, the original PSR indicated that Clark was a

high level decision maker because he had “authority to approve

contracts.” The Government disagreed with the enhancement for “high

level decision making,” as a matter of fact and law, stating, “The

government is not aware of evidence that the Defendant had any

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authority to approve contracts.” (Final PSR, ¶ 59 Government

Objection).

   In addition, the Government joined and expanded on Clark’s

objection to Initial PSR’s enhancement relating to passport documents.

In its objection to this enhancement, the Government stated, “the two

levels do not apply because the evidence relating to entry documents is
unrelated to the 2012 procurement scheme on which Count 1 is based.

These documents pertain to the 2015 visa fraud scheme (Count 2),

which is governed by U.S.S.G. § 2L2.1.” (Final PSR, ¶ 60 Government

Objection).

   Finally, the Government objected to the Initial PSR’s statement that

Criminal History Category II applied to Clark. The Government

forthrightly stated:

      As reflected in the evidence discussed in the PSR, the
      offense in Count 1 was committed between 2012 and April
      2013; moreover, the offense in Count 2 began in 2015.
      Because the 12 month sentence for the DUI was imposed
      in October 2013 and appears to have concluded in October
      2014, Defendant would not have committed the instant
      offenses while serving his 12 month DUI sentence. As
      such, the two points under U.S.S.G. § 4A1.1(d) should not
      apply, and Defendant should remain in Criminal History
      Category I, lowering his range.
(Final PSR, ¶ 80 Government Objection).

   By joining Clark’s objections to the Initial PSR and pointing out

legal and factual inaccuracies, the prosecutors in this case demonstrated


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the highest level of professionalism and strict adherence to DOJ

Principles of Federal Prosecution. See DOJ 9-27.720, cmt. 4(b)

Principles of Federal Prosecution (“The attorney for the government

should bring any significant inaccuracies or omissions to the Court's

attention at the sentencing hearing, together with the correct or

complete information. The attorney may also wish to highlight certain
factual findings in making a sentencing recommendation to the

court.”)(available     at     https://www.justice.gov/jm/jm-9-27000-

principles-federal-prosecution#9-27.720)(last accessed on April 7,

2023).

   B. Whether a Guideline Sentence Serves the Factors Set Forth
      in 18 U.S.C.§ 3553(a), and, if it does not, select a sentence
      that does serve those factors
   In the second step of the sentencing process, "[t]he Court shall

impose a sentence sufficient, but not greater than necessary, to comply

with the purposes" of sentencing. 18 U.S.C. § 3553(a). The Court

should consider, among other factors, (1) the nature of the offense and
the history and characteristics of the defendant; (2) the need for the

sentence imposed to reflect the seriousness of the offense, to promote

respect for the law, to provide just punishment for the offense, to

provide adequate deterrence to criminal conduct, to protect the public

from further crimes of the defendant, and to provide the defendant with

needed training, medical care, and/or correctional treatment; (3) the


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kinds of sentences available; and (4) the need to avoid unwarranted

sentencing disparities among defendants.

        i.   Nature of the Offense and History and Characteristics
             of the Defendant
   In addition to crediting his cooperation with the government before

and during this case, a sentence of time 18 months would also reflect

Clark’s positive history and characteristics.

   Clark was born April 12, 1964, to the union of William Nathan Clark

and Pauline Arnold. William Nathan Clark committed suicide in 1985

or 1986 after battling manic depression. Clark’s mother is an alcoholic

and is now sober. Clark’s parents divorced when he was 5 years old.

His father was a strict disciplinarian; his mother drank and partied.

When he was with his mother, Clark consistently witnessed his mother

drinking. His mother was verbally abusive would often leave him

without adult supervision.

   When Clark was 16 or 17 years old, he returned home from school

one day and found his mother packing up the house. She told Clark he
needed to figure out where to go, and she told him to contact his father.

He decided to not contact his father and, instead, lived on the street for

approximately three weeks. Clark moved back in with his father after

his three weeks on the street. Though not known to Clark at the time,

his father was suffering and had suffered from a life-long mental illness,

i.e., manic depression.

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   Clark joined the United States Army shortly after high school

graduation due to his self-described “rebelliousness” and as a way to

get leave his father’s home. Clark enlisted and served in the United

States Army from 1984 until 1991. He was stationed at various

locations to include Fort Campbell, Kentucky; Kaiserslautern in

Germany; Fort Sill in Oklahoma; and the Persian Gulf during the
Persian Gulf War. After he was discharged from the Army in 1991,

Clark returned to Detroit and lived there until 2003.

   Through introspection and hard work, Clark became a productive,

responsible, law abiding citizen. He has been married to the same

person for 38 years. In 1985, Clark married Helen Clark in 1985 in

Clarksville, Tennessee. Helen Clark (neé: Klinger), is 61 and lives

resides with the defendant and is employed in a responsible position at

the Veterans Affairs Hospital. Ms. Clark is in good health and has never

suffered from substance abuse or mental health problems.

   Clark and his wife have raised two responsible, law abiding sons,
Miles Clark, age 30, who lives in Douglasville, Georgia, and works

with Clark in the family’s steel fabrication business, and Julian Clark,

age 26, who lives in Tampa, Florida, and is employed in IT. Clark has

a close relationship with his children; he works with Miles daily and

speaks daily with Julian.

   Clark owns and operates Steel Concepts in Atlanta, Georgia. Steel

Concepts performs exemplary work throughout the metropolitan area
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in construction and renovation involving custom fabrication of steel

for restaurants, lofts and other structures. Clark is well-respected in

the construction industry. Below is an example of construction and

steel fabrication for a recent client:




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        ii.   Seriousness of the Offense, Just Punishment, and
              Adequate Deterrence
   Lengthy incarceration, though a specific deterrent, is not the only

form of punishment to render a deterrent effect. The question at

sentencing is what sentence will be an adequate deterrent to re-

offending. Since his return from Afghanistan, Clark has been law

abiding and has built a business based on quality work and financial

integrity with his customers. Clark has not had any complaints from

customers, much less any allegations of criminal misconduct.

   Clark, a non-violent offender, will be 59 years old on the day he is

sentenced. His age, personal history and circumstances are positive

indicators that Clark will never re-offend. He has no felony history, no

history of violence, and no prior history of incarceration. During the

three days of video confessions, he expressed regret and shame to law

enforcement. Throughout the process, Clark has expressed remorse,
regret and shame to his customers (whom he informed of these

proceedings), his family, friends, his pastor and members of his church.

       iii.   Kinds of Sentences Available
   Because the sentencing guidelines are not mandatory, this Court has

broad discretion to fashion a sentence. Clark understands he will serve

a term in prison and is not making an unrealistic argument that his

sentence should be home confinement. On the other hand, a lengthy
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period of confinement would be excessive and unjust. The Guideline

range is but one factor and is “the starting point and initial benchmark

. . .,” not end of the sentencing process. Gall, 552 U.S. at 38. Id. at 30.

The Government has indicated that Clark should be sentenced at the

low end of the sentencing guideline and that it does not seek

consecutive sentencing. The Government does not deny that Clark’s
cooperation was extensive, helpful, and comprehensive and was given

without any realistic possibility of consideration under U.S.S.G. §

5K.1.1.

       iv.   Need to Avoid Unwarranted Sentencing Disparities
             Among Defendants
   The need to avoid unwarranted sentencing applies to this case. Todd

Coleman, Clark’s conspirator in this scheme, received a sentence of 33

months. Coleman’s role enabled him to access information regarding

contract bids. Coleman’s role as an acquisition analyst involved, among

other things, soliciting and evaluating bids, and recommending contract

awards (Final PSR, ¶ 13). Here the Government has expressly
acknowledged that Clark, unlike Coleman, had no ability to

recommend contract awards. See (Final PSR, ¶ 59 Government

Objection and Statement)(“The government is not aware of evidence

that the Defendant had any authority to approve contracts.”)

   Coleman had engaged in similar misconduct while in Iraq and it is

clear that Coleman recruited and directed Clark throughout the scheme.

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See e.g. (Final PSR, ¶ 28(iii)(“ On March 20, 2012, Coleman directed

Clark to send Samadi instructions to adjust Raj’s Construction

bid…)(emphasis added); (Final PSR, 43)(“On March 21, 2012, Clark

emailed Samadi and stated, “[T]odd said to put the information the

same as it is on the spread sheet...Can you send this to [T]odd just like

this with the culverts added…).
   Clark does not assert that Coleman’s role as the initiator of the

scheme and direction of Clark during the scheme somehow absolves or

lessens Clark’s responsibility for the criminal conduct. Clark accepts

and has long accepted that he is fully responsible for every dollar of the

$400,000 attributable to this scheme. While Coleman’s role does not

diminish Clark’s responsibility for these crimes, Coleman’s sentence is

relevant to statute’s requirement to avoid unwarranted sentencing

disparities.

   Here, Coleman and Clark’s scheme netted $400,000, which they

divided equally. Assuming that Coleman and Clark were equally
culpable regardless of their respective roles in the scheme, sentencing

Clark to 57 months (the low end of the guidelines) while sentencing

Coleman to 33 months would create an unwarranted disparity between

co-conspirators who worked together to perpetuate this scheme. The

counts regarding the visa fraud do not justify a disparity between 57

and 33 months as the visa fraud was far less in scope ($400,000 vs.

$9,000) than the bribery scheme.
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                             CONCLUSION
     A downward variance is appropriate in this case pursuant to the

factors in 18 U.S.C. 3553(a), including, without limitation, Clark’s

history, personal characteristics, and nature and circumstances of the

offense. This sentence reflects the seriousness of the offense, the need

for specific deterrence, and the need to avoid unwarranted sentencing

disparities. Clark respectfully requests that the Court grant a downward

variance and impose a sentence of 18 months of incarceration.


 7 April 2023.                          By: s/ Bruce S. Harvey
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